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4/7/25, 12:26 PM                       Case 4:25-cv-01824-JST            Document
                                                                              eGMS56-4     Filed
                                                                                   Reach: Award   04/07/25
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     Reminders                                                                                                                                                 




      notifications Reminders
                                             Award: PG-300781-24
         Award PG-300781-24

          1 Unread Messages

                                               Information     Funding     Instructions    Documents       Forms and Reports     Products and Media   Venues

                                               Change Requests       Payments       Messages      Write Ups




                                              Message regarding PG-300781-24 (GLBT Historical Society)
                                              Notice of Grant Termination

                                                                                                                                                      print close
                                                                         Name                                                       Date Added

                                                                         Daniel Bao                                                 4/4/2025

                                                                         Kelsi Evans                                                4/4/2025

                                              Recipients                 Adam Oppenheim (NEH)                                       4/4/2025

                                                                         Elizabeth Arroyo (NEH)                                     4/4/2025


                                                                         Add Recipients



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     4/4/2025 7:29 PM - Daniel Bao

   To Whom it May Concern,

   I am following up on your termination letter dated April 2, 2025, regarding our NEH grant (Federal Award ID Number PG-
   300781-24). The reasons stated in the termination notice were unclear.

   Given the alignment of our grant application with the stated purposes of the American Tapestry initiative, we are unable to
   understand why our grant posed any concern.

   Could you please provide further explanation regarding the reasons for this termination?

   What are our ongoing obligations under this grant?

   Would we be able to recuperate expenses already incurred under this grant?

   Thank you very much for your prompt attention to this matter.

   Daniel Bao on behalf of Roberto Ordenana

   description NoticeofGrantTermination_PG30078124.pdf
     4/7/2025 1:24 PM - Adam Oppenheim (NEH)

   Thank you for reaching out. The Acting Chair has made the decision to terminate awards. We are aware that termination
   letters were sent from the email address Grant_Notifications@nehmail.onmicrosoft.com. The Office of Grant
   Management does not have any further information at this time. Please refer to your termination notice from the Acting
   Chair for information and follow up with the contact listed in the termination letter from that email address.




   Send a Comment
    Comment
                                                                                                       


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4/7/25, 12:26 PM                             Case 4:25-cv-01824-JST                Document
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